         4:17-bk-16183 Doc#: 30 Filed: 12/07/17 Entered: 12/07/17 14:13:46 Page 1 of 1
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                                   UNITED STATES BANKRUPTCY COURT

                                             Eastern District of Arkansas


In Re:        Jerry P Whitley
              Debtor
                                                                                 Case No.: 4:17−bk−16183
                                                                                 Chapter: 11
                                                                                 Judge: Richard D. Taylor


                                     ORDER TO SUBMIT PROPOSED ORDER


This case is before the Court upon a sua sponte review of the case file. On 10/15/17, Motion to extend time to file
schedules or new case deficiencies, excluding matrix filed on behalf of Debtor, a(n) Application to employ The
Mitchell Law Firm, L.P. as Attorney For Debtor.

Accordingly, the above attorney is hereby ordered to submit a proposed order for consideration by the Court within
fourteen (14) days of the date of this Order.

FAILURE TO COMPLY WITH THIS ORDER MAY RESULT IN DENIAL OF THE RELIEF SOUGHT OR AN
ORDER TO SHOW CAUSE HEARING BEING SET TO DETERMINE WHETHER SANCTIONS SHOULD BE
IMPOSED. RESPONSIBLE COUNSEL WILL BE REQUIRED TO PERSONALLY APPEAR AT THE SHOW
CAUSE HEARING.

IT IS SO ORDERED.
Dated: 12/7/17



                                            UNITED STATES BANKRUPTCY JUDGE
